                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                    CIVIL ACTION NO. 3:21-CV-00312-FDW-DSC


 BRADLEY TERRY WILLIAMS,                        )
                                                )
                   Plaintiff,                   )
                                                )
 v.                                             )                   ORDER
                                                )
 CORELOGIC RENTAL PROPERTY                      )
 SOLUTIONS LLC,                                 )
                                                )
                  Defendant.                    )



       THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice and

Affidavit for [James G. Ruiz]” (document #5) filed October 28, 2021. For the reasons set forth

therein, the Motion will be granted.


       All counsel are advised that local counsel must sign all documents submitted to the Court

and as such are accountable for the substance of such submissions under Rule 11 of the Federal

Rules of Civil Procedure.


       The Clerk is directed to send copies of this Order to counsel for the parties and to the

Honorable Frank D. Whitney.


       SO ORDERED.                     Signed: October 28, 2021




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